Case 23-56798-pmb             Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20                      Desc Main
                                        Document     Page 1 of 56



                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

 In re:                                                          Chapter 15

 BRON Media Holdings USA Corp.,et al.,                           Case No. 23-56798-pmb
               Debtors in a Foreign Proceeding.                  Jointly Administered

                       MOTION OF FOREIGN REPRESENTATIVE
               FOR AN ORDER GRANTING CERTAIN PROVISIONAL RELIEF

          COMES NOW BRON Media Corp. 1, in its capacity as the Canadian Court-appointed

and authorized foreign representative (the “Foreign Representative”) for the above-captioned

debtors (collectively, the “Debtors”) which are the subjects of a reorganization proceeding

(the “CCAA Proceeding”) commenced before the Supreme Court of British Columbia (the

“Canadian Court”) under Canada’s Companies’ Creditors Arrangement Act (the “CCAA”),

respectfully moves (the “Motion”) as follows:

                                           RELIEF REQUESTED

          1.     Pursuant to Sections 105(a), 362, 363, 364, 365(e), 1517, 1519, and 1521 of title 11

of the United States Code (the “Bankruptcy Code”), the Foreign Representative respectfully




1
  The U.S. Debtors in these Chapter 15 cases and the last four digits of their U.S. Federal Employer Identification
Numbers are as follows: BRON Creative USA Corp (1363); BRON Digital USA, LLC (0276); BRON Life USA
Inc. (1178); BRON Media Holdings USA Corp (0637); BRON Releasing USA Inc. (6368); BRON Studios USA Inc.
(8784); BRON Ventures 1 LLC (5066); BRON Studios USA Developments Inc. (7529); Bakhorma, LLC (6944);
Drunk Parents, LLC (5462); Fables Holdings USA, LLC (8085); Fables Productions USA INC. (5169); Gossamer
Holdings USA, LLC (2582); Gossamer Productions USA, Inc. (7876); Harry Haft Productions, Inc. (6144);
Heavyweight Holdings, LLC f/k/a Harry Haft Films, LLC (8193); I am Pink Productions, LLC (6681); Lucite Desk,
LLC (2546); National Anthem Holdings, LLC f/k/a BCDC Holdings, LLC (6943); National Anthem ProdCo Inc.
(8637); Oakland Pictures Holdings, LLC (4988); Pathway Productions, LLC (Del. Incorporation No. 3081); Robin
Hood Digital PC USA Inc. (2499); Robin Hood Digital USA, LLC (4302); Solitary Holdings USA, LLC (3013);
Surrounded Holdings USA LLC (8868); and Welcome to Me, LLC (8500) (hereinafter collectively referred to as the
“Debtors”). The Debtors’ principal offices are located at 1700-Park Place, 666 Burrard Street, Vancouver, British
Columbia, Canada.


                                                        1
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                   Document     Page 2 of 56



requests entry of an order, substantially in the form attached hereto as Exhibit A, providing the

following relief (collectively, the “Requested Provisional Relief”):

       a.      recognizing and enforcing in the United States, on a provisional basis, the initial
               order, as currently constituted and as may be later amended or revised, (the “Initial
               Order”) that, among other things:

               (i)     authorizes the Debtors to enter into, perform and borrow, as an initial draw,
                       up to $1,751,409.00 under that certain interim facility (the “Interim DIP
                       Facility”);

               (ii)    grants the Interim DIP Lender (defined below) a charge against the Debtors’
                       property (save for property subject to encumbrances in favor of Comerica
                       Bank) up to a maximum amount of $1,751,409.00 (the “Interim DIP Lender
                       Charge”) as security for all obligations to the Interim DIP Lender under the
                       Interim DIP Facility;

               (iii)   grants the Debtors’ directors and officers a charge (save for property subject
                       to encumbrances in favor of Comerica Bank) against the Debtors’ property
                       for an aggregate amount of $250,000.00 (the “Directors’ Charge”) as
                       security for the Debtors’ indemnification obligations owed to the Debtors’
                       directors and officers in their capacity as such; and

               (iv)    grants the Monitor, the Monitor’s legal counsel, the Debtors’ (including the
                       Foreign Representatives’) legal counsel a charge (save for property subject
                       to encumbrances in favor of Comerica Bank) against the Debtors’ property
                       for an aggregate amount of $250,000.00 (the “Administration Charge”) as
                       security for the professional fees and expenses incurred in connection with
                       the CCAA Proceeding and Chapter 15 Cases;

       b.      granting, on a provisional basis, to and for the benefit of the Interim DIP Lender,
               certain protections afforded by the Bankruptcy Code, including those protections
               provided by Section 364(e) of the Bankruptcy Code; and

       c.      applying Sections 362 and 365(e) of the Bankruptcy Code in these chapter 15 cases
               on a provisional basis, pursuant to Sections 105(a), 1519(a) and 1521(a)(7) of the
               Bankruptcy Code.

                                  JURISDICTION AND VENUE

       2.      This Court has jurisdiction to consider the Motion pursuant to Sections 157 and

1334 of Title 28 of the United States Code. Recognition of a foreign proceeding and other matters



                                                2
Case 23-56798-pmb          Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20               Desc Main
                                    Document     Page 3 of 56



under Chapter 15 of the Bankruptcy Code are core matters under Section 157(b)(2)(P) of Title 28 of

the United States Code. These cases have been properly commenced pursuant to Section 1504 of

the Bankruptcy Code by the filing of Chapter 15 petitions (the “Petitions”) and the Omnibus

Petition for (I) Recognition of Foreign Main Proceeding, (II) Recognition of Foreign

Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy Code (the

“Omnibus Petition,” and together with the Petitions, the “Petitions for Recognition”) for

recognition of the CCAA Proceeding under Section 1515 of the Bankruptcy Code.

       3.      The Foreign Representative, in its capacity as authorized foreign representative,

consents to the entry of final orders or judgments by the Court if it is determined that the Court,

absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution. Venue is proper in this Court and this District pursuant to 28 U.S.C.

§ 1410. The Debtors do not have principal offices in the United States. The Debtors’ principal assets

in this district are the security retainers paid to and held by the Debtors’ counsel in Atlanta, Georgia

in advance of filing the Debtors’ Petitions for Recognition. See, e.g., In re Avanti Commc’n Grp.

PLC, 582 B.R. 603, 613–14 (Bankr. S.D.N.Y. 2018) (finding that a retainer and a 2023 Indenture

governed by New York satisfied the property requirement); In re U.S. Steel Can. Inc., 571 B.R.

600, 611 (Bankr. S.D.N.Y. 2017) (holding undrawn $100,000 retainer in New York bank account

paid by foreign debtor to its United States counsel property of debtor in the United States); In re

Cell C Proprietary Ltd., 571 B.R. 542, 552 (Bankr. S.D.N.Y. 2017) (holding foreign debtor

eligible under section 109(a) on the basis of retainer paid to international law firm representing

debtor, deposited in New York bank account); In re Inversora Eléctrica de Buenos Aires S.A., 560

B.R. 650, 655 (Bankr. S.D.N.Y. 2016) (finding sufficient assets in the United States, among which

included an attorney retainer deposited in New York); See also In re The Alno AG., No. 28-12651



                                                  3
Case 23-56798-pmb         Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20           Desc Main
                                    Document     Page 4 of 56



(Bankr. D. Del. November 20, 2018); In re Octaviar Administration Pty Ltd., 511 B.R. 361 (Bankr.

S.D.N.Y. 2014).

       4.      The statutory predicates for the relief requested herein are Sections 105, 362, 363,

364, 365(e), 1517, 1519, and 1521 of the Bankruptcy Code.

                                         BACKGROUND

       5.      BRON Media Holdings USA Corp along with its affiliated companies in Canada

and the U.S. (collectively, the “BRON Group”), develops, produces and sells motion pictures,

series television, and digital media content, which includes animation and interactive gaming. To

date, the BRON Group has produced or executive produced more than 125 productions. It has

received hundreds of honors and produced or executive produced films that have combined to

receive 38 Academy Award nominations and 6 Academy Awards. Through its successful and

culture-shifting productions, the BRON Group established itself as a reputable producer, trusted

by many established, elite players in the North American entertainment industry. See Gilbert Decl.,

¶ 1. The BRON Group has operated in Canada since 2010, and currently operates in Canada from

facilities in British Columbia, where it maintains its headquarters. Id.

       6.      Additional information about the Debtors’ business and operations, the events

leading up to the filing of the Petitions for Recognition, and the facts and circumstances

surrounding the CCAA Proceeding and the Chapter 15 Cases, is set forth in the contemporaneously

filed Declaration of Aaron Gilbert in Support of the Debtors’ Chapter 15 Petitions and First Day

Pleadings in Foreign Proceeding (the “Gilbert Declaration”).            The Gilbert Declaration is

incorporated herein by reference.

       7.      On July 18, 2023, the Debtors filed applications under the CCAA to commence a

restructuring proceeding under the supervision of the Canadian Court. On July 19, 2023, the



                                                 4
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                   Document     Page 5 of 56



Canadian Court entered the Initial Order, a true and correct copy of which is attached hereto as

Exhibit B, appointing Grant Thornton Limited (“GTL” or the “Monitor”) to monitor and assist

the Debtors in their business and financial affairs in accordance with section 23 of the CCAA. The

Canadian Court also appointed the Foreign Representative to assist the Debtors in accordance with

paragraphs 52-53 of the Initial Order.

       8.      Among other things, the Initial Order authorizes the Debtors to enter into the

interim financing documents to fund the post-filing expenditure of the Debtors pursuant to the

terms of that certain DIP Loan Agreement, dated July 18, 2023 (the “DIP Loan Agreement”)

between each of the Debtors, as borrowers, and Creative Wealth Media Lending LP 2016, as lender

(in such capacity, the “Interim DIP Lender”). A copy of the DIP Loan Agreement is attached as

Exhibit 3 to the Gilbert Declaration. As set forth in the DIP Loan Agreement and as approved by

the Initial Order, the Debtors are authorized to incur a portion, $1,751,409.00, of the DIP Facility.

Initial Order, ¶ 35. The Initial Order grants the Interim DIP Lender a charge and security on all of

the Debtors’ property (save for property subject to encumbrances in favor of Comerica Bank) up

to $1,751,409.00. The Interim DIP Lender Charge is entitled to priority as set forth in paragraphs

41 and 43 of the Initial Order.

       9.      The Initial Order also stays the continuation or commencement of actions and

proceedings against the Debtors and their directors and officers, including any actions or

proceedings that may be brought in these Chapter 15 Cases, to ensure that dissident creditors

cannot bypass the CCAA Proceeding by commencing litigation or taking other actions outside of

Canada to obtain a greater recovery than other, similarly situated creditors. Initial Order, ¶ 15. As

further explained below, the Debtors’ directors and officers are integral to their restructuring




                                                 5
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20                Desc Main
                                   Document     Page 6 of 56



efforts and have rights of indemnification against the Debtors and have been granted by the

Canadian Court the Directors’ Charge.

       10.     On July 19, 2023, the Foreign Representative filed the Petitions for Recognition

under Chapter 15 of the Bankruptcy Code for recognition of the CCAA Proceeding, thereby

commencing the Debtors’ Chapter 15 cases.

                                       BASIS FOR RELIEF

A.     Section 1519 of the Bankruptcy Code Authorizes the Requested Provisional Relief.

       11.     Section 1519 of the Bankruptcy Code authorizes the Court to grant the Foreign

Representative certain enumerated relief pending the Court’s ruling on the Petitions for

Recognition:

(a)    From the time of filing a petition for recognition until the court rules on the petition, the
       court may, at the request of the foreign representative, where relief is urgently needed to
       protect the assets of the debtor or the interests of the creditors, grant relief of a provisional
       nature, including —

       (1)     staying execution against the debtor’s assets;

       (2)     entrusting the administration or realization of all or part of the debtor’s assets
               located in the United States to the foreign representative or another person
               authorized by the court, including an examiner, in order to protect and preserve the
               value of assets that, by their nature or because of other circumstances, are
               perishable, susceptible to devaluation or otherwise in jeopardy; and

       (3)     any relief referred to in paragraph (3), (4) or (7) of section 1521(a).

       11 U.S.C. § 1519(a).

       12.     Section 1519(a)(3) of the Bankruptcy Code expressly authorizes the Court to grant

the Foreign Representative any relief referenced in, among others, Section 1521(a)(7) of the

Bankruptcy Code. Section 1521(a)(7), in turn, permits a court to grant any relief, with certain

limited exceptions that are not applicable here, that would be available to a bankruptcy trustee, and

therefore authorizes the Court apply Sections 105, 362, 363, 364(e) and 365(e) of the Bankruptcy

                                                  6
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                   Document     Page 7 of 56



Code to the Chapter 15 Cases on a provisional basis and grant provisional recognition to foreign

court orders.

       13.      Sections 105(a), 1519 and 1521(a)(7) of the Bankruptcy Code also grant the court

authority to extend the protections of Sections 362 of the Bankruptcy Code not only to the Debtors,

but also to their directors and officers, as non-Debtors, in these Chapter 15 Cases. Indeed, courts

have extended and applied the automatic stay to non-debtor entities in Chapter 11 cases where the

relief is necessary to prevent irreparable harm. In re W.C. Wood Corp., Ltd., No. 09-11893 (Bankr.

D. Del. June 1, 2009) [Docket No. 16] (extending stay protection to officers and directors); In re

Fraser Papers Inc., No 09-12123 (Bankr. D. Del. June 19, 2009) [Docket No. 18] (same).

B.     The Requested Provisional Relief Is Justified.

       14.      Provisional relief under Section 1519 requires satisfaction of the standard for

injunctive relief. 11 U.S.C. § 1519(e); In re Innua Can. Ltd., No. 09-16362, 2009 WL 1025088,

at *3 (Bankr. D. N.J. Mar. 25, 2009). That same standard applies to a request to extend and apply

the automatic stay to a non-debtor entity. To that end, various courts nationwide have applied a

standard which requires a movant to show that: (a) it has a likelihood of success on the merits; (b)

it will suffer irreparable harm if the injunction is denied; (c) granting provisional relief will not

result in even greater harm to the nonmoving party; and (d) the public interest favors such relief.

See e.g. In re Andrade Gutierrez Engenharia S.A., 645 B.R. 175, 180 (Bankr. SDNY 2022); Rogers

v. Corbett, 468 F.3d 188, 192 (3d Cir. 2006) (citing Kos Pharm., Inc. v. Andrx Corp., 369 F.3d

700, 708 (3d Cir. 2004) (citations omitted)). The Foreign Representative submits that the standard

is satisfied in these Chapter 15 Cases.




                                                 7
Case 23-56798-pmb         Doc 9   Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                  Document     Page 8 of 56



       i.      There Is a Substantial Likelihood of Recognition.

       15.     As detailed more fully in the Omnibus Petition and the Gilbert Declaration, there is

a substantial likelihood of recognition of the CCAA Proceeding as a foreign main proceeding, or,

in the alternative, a foreign nonmain proceeding. The CCAA Proceeding is a “foreign proceeding”

and the Foreign Representative is a “foreign representative,” as those terms are defined in sections

101(23) and (24) the Bankruptcy Code. In addition, these Chapter 15 Cases were duly and properly

commenced by filing the Petitions for Recognition in accordance with Section 1515 of the

Bankruptcy Code and Rule 7007.1 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”). Moreover, the CCAA Proceeding is a foreign main proceeding as defined in Section 1502

of the Bankruptcy Code because the Debtors’ center of main interests is located in Canada for the

reasons set forth in the Omnibus Petition and Gilbert Declaration. To the extent this Court

determines that the CCAA Proceeding (with respect to the Debtors incorporated outside of

Canada) is not recognized as a foreign main proceeding, such CCAA Proceeding is a foreign

nonmain proceeding because each such Debtor has an establishment within the meaning of Section

1502 of the Bankruptcy Code in Canada.

       ii.     The Debtors Will Suffer Irreparable Harm if the Request for Provisional Relief is
               Denied.
       16.     Provisional recognition and relief under Sections 105(a), 362, 363, 364, 365(e),

1517, 1519, and 1521 of the Bankruptcy Code in these cases is important to prevent irreparable

damage to the interests of the Debtors’ estates, creditors, and the efficacy of the CCAA Proceeding.

The stay in Section 362 of the Bankruptcy Code is one of the fundamental protections provided by

bankruptcy law, halting all collection efforts, harassment and foreclosure actions and providing

debtors with necessary breathing room from the financial pressures that caused the bankruptcy

filing. Section 365(e) of the Bankruptcy Code provides a debtor with similar relief by prohibiting


                                                8
Case 23-56798-pmb              Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20                       Desc Main
                                         Document     Page 9 of 56



counterparties from terminating contracts with the debtor solely because of the debtor’s

bankruptcy filing. Although the Initial Order implements a stay preventing parties from taking

actions against the Debtors and their assets wherever located, the Debtors have intellectual and other

property in the United States that may be subject to enforcement actions by certain creditors and

litigants that may not believe they are bound by the Initial Order. 2 See In re Daebo Int’l Shipping

Co., 543 B.R. 47, 54 (Bankr. S.D.N.Y. 2015) (holding that “the Court finds that under [Canadian]

law the stay order plainly was intended to have worldwide effect . . .[Canadian] law (and the stay

order) are clear, and it is consistent with the purpose of Chapter 15 to give effect to them”).

         17.      If these protections under Sections 362 and 365(e) were unavailable, the Debtors

could face immediate and irreparable harm resulting from the potential termination of critical

leases and contracts and the piecemeal loss of assets from individual creditor collection and

enforcement efforts.

         18.      The Eleventh Circuit has recognized the need to avoid abnormally excessive or

deleterious piecemeal litigation. Ambrosia Coal & Constr. Co. v. Morales, 368 F.3d 1320, 1333

(11th Cir. 2004). In the Chapter 15 context, courts have recognized the need to provide provisional

relief in order to ensure the orderly distribution of a debtor’s assets in a single proceeding, and

prevent piecemeal enforcement against a debtor’s assets across multiple jurisdictions. See, e.g., In

re The Aldo Group, Inc., No. 20-11060 (KBO) (Bankr. D. Del. May 8, 2020) [Docket No. 29]

(granting provisional relief, including recognition and enforcement of the Initial Order entered in

the CCAA Proceeding and application of Sections 362, 364(e) and 365(e)); In re Groupe Dynamite

Inc., No. 20-12085 (CSS) (Bankr. D. Del. Sept. 9, 2020) [Docket No. 25] (granting provisional

relief, including recognition and enforcement of the Initial Order entered in the CCAA Proceeding


2
 The Foreign Representative and the Debtors reserve all rights and remedies with respect to any party that takes action
against the Debtors or their assets inconsistent with the Initial Order and Canadian law.

                                                         9
Case 23-56798-pmb         Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                   Document      Page 10 of 56



and application of sections 362 and 365(e)); In re Unique Broadband Sys. Ltd., No. 19-11321

(BLS) (Bankr. D. Del. June 13, 2019) [Docket No. 12]; In re Kraus Carpet Inc., No. 18-12057 (KG)

(Bankr. D. Del. Sept. 12, 2018) [Docket No. 17] (granting recognition on a provisional basis); In re

RCR Int’l Inc., No. 18-10112 (LSS) (Bankr. D. Del. Jan. 24, 2018) [Docket No. 11] (same); In re

Essar Steel Algoma Inc., No. 15-12271 (BLS) (Bankr. D. Del. Nov. 10, 2015) [Docket No. 30]

(same).

          19.   In addition, the Debtors will suffer immediate and irreparable harm if the Interim

DIP Lender refuses to allow the Debtors access to the Interim DIP Facility approved by the

Canadian Court because the Interim DIP Lender is not protected pursuant to Section 364(e) of the

Bankruptcy Code. The Debtors require immediate access to a portion of the Interim DIP Facility

to fund working capital requirements, other general corporate purposes and the costs of

administering their CCAA Proceeding until a final hearing can be held on the Petitions for

Recognition. With the assistance of GTL, the Debtors have prepared projections that provide the

projected cash flow for the Debtors on a weekly basis following entry of the Initial Order.

          20.   Essential funding under the Interim DIP Facility is explicitly contingent on

recognition of the Interim DIP Facility. More specifically, Section 8, Sub-Sections 2(a) and 3(b)

of the Interim DIP Facility make it a predicate condition to the Debtors receiving a second and

third advance that the DIP Facility has been provisionally recognized by this Court.

          21.   As discussed in the Gilbert Declaration, the Debtors have run out of cash to

continue operations unless the additional, immediate funding is provided through the DIP Facility.

The funding provided by the DIP Facility is therefore necessary to give vendors, employees and

other critical parties who deal with the Debtors confidence that the Debtors have access to funds

to meet their post-filing obligations to such parties. See Gilbert Declaration, ¶ 27. If such requested



                                                  10
Case 23-56798-pmb         Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20           Desc Main
                                   Document      Page 11 of 56



relief is not granted, the Debtors will ultimately be unable to meet their obligations and maintain

the operation of their business.

       22.     The Interim DIP Lender has agreed to provide the Interim DIP Facility upon the

terms outlined in the DIP Loan Agreement. See Gilbert Declaration, ¶ 29. The terms of the DIP

Loan Agreement were negotiated, proposed and entered by the Debtors and the Interim DIP Lender

without collusion, in good faith and at arm’s length. The Interim DIP Facility will preserve and

maintain the going concern value of the Debtors’ estates, which, in turn, is integral to maximizing

recoveries for the Debtors’ stakeholders.

       23.     Accordingly, the Foreign Representative requests that the Court, on a provisional

basis, recognize the liens, charges and other protections negotiated in the Interim DIP Facility

approved by the Canadian Court and afford the Interim DIP Lender the protections available under

Section 364(e) of the Bankruptcy Code. Cause exists to grant the requested relief pursuant to

Sections 1519 and 1521(a)(7) of the Bankruptcy Code because the Debtors require immediate

access to the funds under the Interim DIP Facility and the Interim DIP Lender has requested, and

may not make the funds available unless they are afforded these protections, including the

protections of Section 364(e) of the Bankruptcy Code.

       24.     Courts have previously granted similar relief requested in Chapter 15 proceedings.

See, e.g., Essar Steel Algoma Inc., No. 15-12271 (Bankr. D. Del. Nov. 10, 2015) [Docket No. 30];

Arctic Glacier Int’l, Inc., No. 12-10605 (Bankr. D. Del. Feb. 23, 2012) [Docket No. 28]; In re

Catalyst Paper Corp., No. 12-10221 (Bankr. D. Del. Feb. 8, 2012) [Docket No. 60]. Absent

immediate interim financing relief, the Debtors and their creditors will suffer immediate and

irreparable harm.




                                                11
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                  Document      Page 12 of 56



       25.     As described more fully in the Gilbert Declaration, the Debtors may face immediate

and irreparable harm if the commencement or continuation of actions against the directors and

officers and their assets are not enjoined. The directors and officers in question are essential to

managing the Debtors’ business and ability to implement a successful restructuring. Gilbert

Declaration ¶ 26. Further, the Debtors’ directors and officers have indemnification rights and have

been granted a Directors’ Charge against certain of the Debtors’ property.

       iii.    There Will Be No Harm to Creditors if the Provisional Relief Is Granted.

       26.     The Debtors’ creditors will not be harmed by the requested provisional relief as it

will largely preserve the status quo and will enable the Debtors to continue to finance their

operations for the short time necessary for the Court to rule on the Petitions for Recognition. In

fact, granting the request for provisional relief will benefit the Debtors’ creditors because it will

ensure that the value of the Debtors’ assets is preserved for the benefit of all interested parties.

Indeed, as stated in the legislative history to section 362 of the Bankruptcy Code:

       The automatic stay also provides creditor protection. Without it, certain creditors
       would be able to pursue their own remedies against the debtor’s property. Those
       who acted first would obtain payment of the claims in preference to and to the
       detriment of other creditors. Bankruptcy is designed to provide an orderly
       liquidation procedure under which all creditors are treated equally. A race of
       diligence by creditors for the debtor’s assets prevents that.

       H.R. Rep. No. 95-595, at 340-42 (1977), reprinted in 1978 U.S.C.C.A.N. 5963,
       6297.

Similarly, the legislative history to section 365(e) provides:

       Subsection (e) invalidates ipso factor [sic] or bankruptcy clauses. These clauses,
       protected under present law, automatically terminate the contract or lease, or permit
       the other contracting party to terminate the contract or lease, in the event of
       bankruptcy. This frequently hampers rehabilitation efforts. If the trustee may
       assume or assign the contract under the limitations imposed by the remainder of the
       section, then the contract or lease may be utilized to assist in the debtor’s
       rehabilitation or liquidation.

       Id. at 348-49, 1978 U.S.C.C.A.N at 6304-05.

                                                 12
Case 23-56798-pmb          Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                   Document      Page 13 of 56




       27.     The Foreign Representative submits that there will be no harm to creditors if the

Foreign Representative’s request for provisional relief is granted.

       iv.     The Public Interest Favors Granting the Provisional Relief.

       28.     As noted above, the requested provisional relief is consistent with the policy

underlying bankruptcy law and is in the public interest because it will facilitate the Debtors’ efforts

to pursue and complete a successful restructuring for the benefit of the Debtors’ creditors and other

stakeholders. See In re W.R. Grace & Co., 475 B.R. 34, 208 (D. Del. 2012) (emphasizing that

“[i]n the bankruptcy context, there is a general public policy weighing in favor of affording finality

to bankruptcy judgments.”); In re Tribune Co., 477 B.R. 465, 475 (Bankr. D. Del. 2012) (stating

“there is also a strong public interest in the swift and efficient resolution of bankruptcy

proceedings”); Grimes v. Genesis Health Ventures, Inc. (In re Genesis Health Ventures, Inc.), 280

B.R. 339, 346 (D. Del. 2002) (explaining “[p]ublic policy weighs in favor of facilitating quick and

successful reorganizations of financially troubled companies”); Rehabworks, Inc. v. Lee (In re

Integrated Health Servs, Inc.), 281 B.R. 231, 239 (Bankr. D. Del. 2002) (emphasizing “[i]n the

context of a bankruptcy case, promoting a successful reorganization is one of the most important

public interests”) (citations omitted).

       29.     In addition, granting the provisional relief is in the public interest because it

promotes cooperation between jurisdictions in cross-border insolvencies, an express purpose of

Chapter 15 of the Bankruptcy Code:

       (a)     The purpose of this chapter is to incorporate the Model Law on Cross-Border
               Insolvency so as to provide effective mechanisms for dealing with cases of cross-
               border insolvency with the objectives of —

       (3)     fair and efficient administration of cross-border insolvencies that protects the
               interests of all creditors, and other interested entities, including the debtor;


                                                  13
Case 23-56798-pmb          Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                   Document      Page 14 of 56



       (4)     protection and maximization of the value of the debtors’ assets; and

       (5)     facilitation of the rescue of financially troubled businesses, thereby protecting
               investment and preserving employment.

               11 U.S.C. § 1501(a).

       30.     For the reasons stated above, courts have frequently granted requests for similar

provisional relief in Chapter 15 cases. See In re Cellfor Corp., No. 11-86263-PWB (Bankr. N.D.

Ga. Dec. 22, 2011) [Docket No. 15] (order granting a temporary restraining order to protect a

Canadian debtor’s American assets); See also, Essar Steel Algoma Inc., et al., No. 15- 12271

(Bankr. D. Del. Nov. 10, 2015) [Docket No. 30]; Arctic Glacier Int’l, Inc., No. 12-10605 (Bankr.

D. Del. Feb. 23, 2012) [Docket No. 28]; In re Angiotech Pharm., Inc., No. 11-10269 (Bankr.

D. Del. Jan. 31, 2011) [Docket No. 26] (order granting provisional relief, including protections of

automatic stay and 365(e)); In re MAAX Corp., No. 08-11443 (Bankr. D. Del. July 14, 2008)

[Docket No. 22] (order granting provisional relief, including protections of 365(e)).

                                              NOTICE

       31.     The Foreign Representative will provide notice of this Motion consistent with

Bankruptcy Rule 2002(q). The Foreign Representative proposes to notify all creditors and parties

in interest of the filing of the Petitions for Recognition and the Foreign Representative’s request

for entry of the Final Order in the form and manner set forth in the Motion of Foreign

Representative for Order (I) Scheduling Hearing on Omnibus Petition Under Chapter 15 of The

Bankruptcy Code For Recognition of a Foreign Main Proceeding and for Additional Relief and

Assistance Under 11 U.S.C. §§105(a), 1507, and 1521 and (II) Specifying Form and Manner of

Service of Notice of Hearing, filed contemporaneously herewith. The Foreign Representative

submits that, in view of the facts and circumstances, such notice is sufficient and no other or further

notice need be provided.


                                                  14
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                  Document      Page 15 of 56


                                          CONCLUSION

       WHEREFORE, for all of the reasons stated above, the Foreign Representative respectfully

requests that this Court: (a) enter an order, substantially in the form attached hereto as Exhibit A,

granting the relief requested herein; and (b) grant such other and further relief as this Court deems

just and proper.


Dated: July 20, 2023                                         JONES & WALDEN LLC

                                                              /s/ Cameron M. McCord
                                                              Cameron McCord
                                                              Georgia Bar No. 143065
                                                              Mark Gensburg
                                                              Georgia Bar No. 213119
                                                              Attorneys for Debtors
                                                              699 Piedmont Ave NE
                                                              Atlanta, Georgia 30308
                                                              (678) 701-9235
                                                              cmccord@joneswalden.com
                                                              mgensburg@joneswalden.com

                                                              Counsel for Debtors and Foreign
                                                              Representative




                                                 15
Case 23-56798-pmb   Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20   Desc Main
                            Document      Page 16 of 56




                                   EXHIBIT A

                       Proposed Provisional Relief Order
Case 23-56798-pmb               Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20                      Desc Main
                                         Document      Page 17 of 56



                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


    In re:                                                         Chapter 15

    BRON Media Holdings USA Corp.,et al.,                          Case No. 23-56798-pmb

                  Debtors in a Foreign Proceeding.                 Jointly Administered


                              ORDER GRANTING PROVISIONAL RELIEF

           Upon the Motion of Foreign Representative, for an Order Granting Certain Provisional

Relief (the “Motion”), 1 in its capacity as the Canadian Court-appointed and authorized foreign

representative (the “Foreign Representative”) for the above-captioned debtors 2 (the “Debtors”)

in a reorganization proceeding (the “CCAA Proceeding”) commenced under Canada’s

Companies’ Creditors Arrangement Act (the “CCAA”) pending before the Supreme Court of

British Columbia (the “Canadian Court”), for entry of a provisional order (this “Order”), pursuant

to Sections 105(a), 362, 363, 364(e), 365(e), 1517, 1519, and 1521, of Title 11 of the United States

Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) granting the Requested Provisional Relief

as defined and described in the Motion; and the Court having jurisdiction to consider the Motion



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
2
  The U.S. Debtors in these Chapter 15 cases and the last four digits of their U.S. Federal Employer Identification
Numbers are as follows: BRON Creative USA Corp (1363); BRON Digital USA, LLC (0276); BRON Life USA Inc.
(1178); BRON Media Holdings USA Corp (0637); BRON Releasing USA Inc. (6368); BRON Studios USA Inc.
(8784); BRON Ventures 1 LLC (5066); BRON Studios USA Developments Inc. (7529); Bakhorma, LLC (6944);
Drunk Parents, LLC (5462); Fables Holdings USA, LLC (8085); Fables Productions USA INC. (5169); Gossamer
Holdings USA, LLC (2582); Gossamer Productions USA, Inc. (7876); Harry Haft Productions, Inc. (6144);
Heavyweight Holdings, LLC f/k/a Harry Haft Films, LLC (8193); I am Pink Productions, LLC (6681); Lucite Desk,
LLC (2546); National Anthem Holdings, LLC f/k/a BCDC Holdings, LLC (6943); National Anthem ProdCo Inc.
(8637); Oakland Pictures Holdings, LLC (4988); Pathway Productions, LLC (Del. Incorporation No. 3081); Robin
Hood Digital PC USA Inc. (2499); Robin Hood Digital USA, LLC (4302); Solitary Holdings USA, LLC (3013);
Surrounded Holdings USA LLC (8868); and Welcome to Me, LLC (8500) (hereinafter collectively referred to as the
“Debtors”). The Debtors’ principal offices are located at 1700-Park Place, 666 Burrard Street, Vancouver, British
Columbia, Canada.

                                                          2
Case 23-56798-pmb          Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20                Desc Main
                                    Document      Page 18 of 56



and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334, 11 U.S.C.

§§ 109 and 1501; and consideration of the Motion and the relief requested therein being a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(P); and the Debtors having consented to the Court’s

authority to enter a final order consistent with Article III of the U.S. Constitution; and venue being

proper before this Court pursuant to 28 U.S.C. § 1410; and due and proper notice of the provisional

relief sought in the Motion having been provided; and it appearing that no other or further notice

need be provided; and a hearing having been held to consider the relief requested in the Motion

(the “Hearing”); and upon the Gilbert Declaration, the verified Chapter 15 petitions and all other

pleadings filed contemporaneously with the Motion, the record of the Hearing and all of the

proceedings had before the Court; and the Court having found and determined that the provisional

relief sought in the Motion is in the best interests of the Debtors, creditors and all parties in interest

and that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor;

THIS COURT HEREBY FINDS AND DETERMINES THAT:

        A.      The findings and conclusions set forth herein constitute this Court’s findings of fact

and conclusions of law pursuant to Rule 7052 of the Federal Rules of Bankruptcy Procedures (the

“Bankruptcy Rules”) made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To

the extent any of the following findings of fact constitute conclusions of law, they are adopted as

such. To the extent any of the following conclusions of law constitute findings of fact, they are

adopted as such.

        B.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334.

        C.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).



                                                   3
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20               Desc Main
                                  Document      Page 19 of 56



       D.      Venue for this proceeding is proper before this Court pursuant to 28 U.S.C. § 1410.

       E.      The Foreign Representative has demonstrated a substantial likelihood of success on

the merits that (a) the CCAA Proceeding is a “foreign main proceeding” as that term is defined in

Section 1502(4) of the Bankruptcy Code or, alternatively, with respect to certain Debtors, the

CCAA Proceeding is a “foreign nonmain proceeding” as defined in Section 1502(5) of the

Bankruptcy Code, (b) the Foreign Representative is a “foreign representative” as that term is

defined in Section 101(24) of the Bankruptcy Code, (c) all statutory elements for recognition of

the CCAA Proceeding are satisfied in accordance with Section 1517 of the Bankruptcy Code, (d)

upon recognition of the CCAA Proceeding as a foreign main proceeding, Section 362 of the

Bankruptcy Code will automatically apply in these Chapter 15 cases pursuant to Section 1520(a)(1)

of the Bankruptcy Code, and (e) that application of Section 365(e) on an interim basis to prevent

contract counterparties from terminating their prepetition contracts with the Debtors is entirely

consistent with the injunctive relief afforded by the automatic stay under Section 362.

       F.      The Foreign Representative has demonstrated that (a) the commencement of any

proceeding or action in the U.S. against Debtors and its business and all of its assets should be

stayed pursuant to Sections 1519, 1521, and 105(a) of the Bankruptcy Code, which protections, in

each case, shall be coextensive with the provisions of Section 362 of the Bankruptcy Code, to

permit the fair and efficient administration of the CCAA Proceeding, including a reorganization

pursuant to a plan of compromise or arrangement, pursuant to the Initial Order and any other

applicable orders of the Canadian Court, for the benefit of all stakeholders, and (b) the relief

requested in the Motion will neither cause an undue hardship nor create any hardship to parties in

interest that is not outweighed by the benefits of the relief granted herein.




                                                 4
Case 23-56798-pmb         Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                   Document      Page 20 of 56



       G.      The Foreign Representative has demonstrated that without the protection of

Sections 362 and 365(e) of the Bankruptcy Code, there is a material risk that the Debtors’ creditors,

including counterparties to certain of the Debtors’ leases and contracts, may take the position that

the commencement of the CCAA Proceeding or these Chapter 15 cases authorizes them to

terminate such contracts or accelerate obligations or exercise remedies thereunder. Such

termination or acceleration will severely impair the Debtors’ restructuring efforts and result in

irreparable damage to the Debtors’ business and the value of Debtors’ assets, and substantial harm

to Debtors’ creditors and other parties in interest.

       H.      The Foreign Representative has demonstrated that without the protections afforded

to the Interim DIP Lender under Section 364(e), there is a material risk that the Debtors will be

unable to obtain the requisite financing to continue their business operations and fund their

restructuring proceedings, which will significantly impair and potentially result in irreparable

damage to the value of the Debtors’ assets.

       I.      The Foreign Representative has demonstrated to the Canadian Court that the

incurrence of indebtedness under the Interim DIP Facility and the granting of liens and a charge

negotiated in connection with the Interim DIP Facility is necessary to prevent irreparable harm to

the Debtors because, without such financing, the Debtors will be unable to continue operations

and fund their restructuring proceedings, which will significantly impair the value of their assets,

and the Canadian Court has approved the Interim DIP Facility as being appropriate and the amount

that the Debtors have been authorized to borrow is reasonably necessary for the continued

operations of the Debtors in the ordinary course of business.

       J.      The Foreign Representative has demonstrated to the Canadian Court that the terms

of the Interim DIP Facility are fair and reasonable and were entered into in good faith by the



                                                  5
Case 23-56798-pmb          Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                   Document      Page 21 of 56



Debtors and the Interim DIP Lender and that the Interim DIP Lender would not have extended

financing without the provisions of this Order and the Court’s recognition of the protections set

forth in the Initial Order relating to the Interim DIP Facility.

       K.      The Foreign Representative has demonstrated to the Canadian Court that absent the

relief granted herein, there is a material risk that one or more parties in interest will take action

against the Debtors or their assets. As a result, the Debtors may suffer immediate and irreparable

injury, loss, or damage for which there is no adequate remedy at law and therefore it is necessary

that this Court grant the relief requested in the Motion with notice as provided in the motion.

Further, unless this Order is entered, the Debtors’ assets could be subject to efforts by creditors to

control, possess, or execute upon such assets and such efforts could result in the Debtors suffering

immediate and irreparable injury, loss or damage by, among other things, creditors (a) interfering

with the jurisdictional mandate of this Court under Chapter 15 of the Bankruptcy Code, and (b)

interfering with or undermining the success of the CCAA Proceeding.

       L.      The Foreign Representative has demonstrated that no injury will result to any party

that is greater than the harm to the Debtors’ business, assets, and property in the absence of the

relief requested in the Motion.

       M.      The Debtors’ creditors will not suffer any significant harm by the requested

provisional relief, as the relief will ensure the value of the Debtors’ assets are preserved, protected

and maximized for the benefit of all creditors.

       N.      The Foreign Representative has demonstrated that, in the interest of comity, the

purpose of Chapter 15 is carried out by granting recognition and giving effect to the Initial Order.

       O.      The interests of the public and public policy of the U.S. will be served by entry of

this Order.



                                                  6
Case 23-56798-pmb          Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20               Desc Main
                                   Document      Page 22 of 56



          P.   The Foreign Representative and Debtors are entitled to the full protections and

rights available pursuant to Section 1519(a)(1)-(3) of the Bankruptcy Code.

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

          1.   The Motion is GRANTED as set forth herein.

          2.   The Initial Order, as currently constituted and as may be later amended or revised,

is hereby given full force and effect on a provisional basis, including, without limitation, the

sections of the Initial Order (a) authorizing the Debtors to obtain credit under the Interim DIP

Facility in the amount of $1,751,409.00 and granting to the Interim DIP Lender the Interim DIP

Lender Charge to authorize the Debtors to enter into, perform and borrow under the Interim DIP

Facility, (b) staying the commencement or continuation of any actions against the Debtors and

their assets, (c) imposing a stay with respect to claims or actions against the Debtors’ directors and

officers or their assets in connection with the directors’ or officers’ positions at the Debtor, and (d)

granting the Directors’ Charge and Administration Charge.

          3.   While this Order is in effect, the Foreign Representative and the Debtors are entitled

to the full protections and rights pursuant to Section 1519(a)(1), which protections shall be

coextensive with the provisions of Section 362 of the Bankruptcy Code, and this Order shall operate

as a stay of any execution against the Debtors’ assets within the territorial jurisdiction of the United

States.

          4.   While this Order is in effect, pursuant to Sections 1519(a)(3) and 1521(a)(7) of the

Bankruptcy Code, Sections 362 and 365(e) of the Bankruptcy Code are hereby made applicable in

these Chapter 15 Cases to the Debtors and their property within the territorial jurisdiction of the

United States, and (b) Section 362 of the Bankruptcy Code is hereby made applicable to the




                                                  7
Case 23-56798-pmb         Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                   Document      Page 23 of 56



Debtors’ directors and officers and their property within the territorial jurisdiction of the United

States.

          5.   Pursuant to 11 U.S.C. § 1519(a) and 1521(a)(3) and (7), all persons and entities,

other than the Foreign Representative and its representatives and agents, are hereby enjoined from:

          a.   execution against any of the Debtors’ and their directors and officers (the
               “Protected Parties”) assets;

          b.   the commencement or continuation, including the issuance or employment of
               process, of a judicial, quasi-judicial, administrative, regulatory, arbitral, or other
               action or proceeding, or to recover a claim, including, without limitation, any and
               all unpaid judgments, settlements or otherwise against the Debtors or other
               Protected Parties, which in either case is in any way related to, or would interfere
               with, the administration of the Debtors’ estates in the CCAA Proceeding;

          c.   taking or continuing any act to create, perfect or enforce a lien or other security
               interest, setoff or other claim against the Debtors or other Protected Parties or any
               of their property or proceeds thereof, other than the filing of any registration to
               preserve or protect a security interest;

          d.   transferring, relinquishing or disposing of any property of the Debtors to any person
               or entity (as that term is defined in Section 101(15) of the Bankruptcy Code) other
               than the Foreign Representative;

          e.   commencing or continuing an individual action or proceeding concerning the
               Debtors’ or other Protected Parties’ assets, rights, obligations or liabilities; and

          f.   declaring or considering the filing of the CCAA Proceeding or these Chapter 15
               cases a default or event of default under any agreement, contract or arrangement;

provided, in each case, that such injunctions shall be effective solely within the territorial

jurisdiction of the United States; and provided further that nothing herein shall: (x) prevent any

entity from filing any claims against the Debtors in the CCAA Proceeding; or (y) prevent any entity

from seeking relief from the Canadian Court in the CCAA Proceeding or this Court in these

Chapter 15 Cases, as applicable, for relief from the injunctions contained in the Order.

          6.   To the extent authorized under the Initial Order, the Court recognizes, on a

provisional basis, that during the Stay Period, as defined in the Initial Order and except as permitted

                                                  8
Case 23-56798-pmb           Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                    Document      Page 24 of 56



under subsection 11.03(2) of the CCAA, no Proceeding, as defined in the Initial Order, may be

commenced or continued against any former, present or future director or officer of the Debtors.

       7.       Notwithstanding anything to the contrary contained herein, this Order shall not be

construed as (a) enjoining the police or regulatory act of a governmental unit, including a criminal

action or proceeding, to the extent not stayed pursuant to Section 362 of the Bankruptcy Code or

(b) staying the exercise of any rights that Section 362(o) of the Bankruptcy Code does not allow to

be stayed.

       8.       To the extent provided in the Initial Order, and based on the finding therein and to

promote cooperation between jurisdictions in cross-border insolvencies, the Debtors are hereby

authorized to execute and deliver such term sheets, credit agreements, mortgages, charges,

hypothecs and security documents, guarantees, and other definitive documents as are contemplated

by the Interim DIP Facility (collectively, the “Definitive Documents”) or as may be reasonably

required by the Interim DIP Lender pursuant to the terms thereof, and the Debtors are hereby

authorized to pay and perform all of their indebtedness, interest, fees, liabilities, and obligations to

the Interim DIP Lender under and pursuant to the Interim DIP Facility without any need for further

approval from this Court.

       9.       To the extent authorized under the Initial Order, the Court recognizes, on a

provisional basis, the Interim DIP Lender Charge, as defined in the Initial Order, granted in the

Initial Order which applies to all of the Debtors’ assets located in the United States (save for assets

subject to encumbrances in favor of Comerica Bank), subject to the priorities, terms, and

conditions of the Initial Order, to secure current and future amounts outstanding under the Interim

DIP Facility.




                                                  9
Case 23-56798-pmb           Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                    Document      Page 25 of 56



       10.     This Order shall be sufficient and conclusive notice and evidence of the grant,

validity, perfection, and priority of the liens granted to the Interim DIP Lender in the Initial Order

without the necessity of filing or recording this Order or any financing statement, mortgage, or

other instrument or document which may otherwise be required under the law of any jurisdiction;

provided that the Debtors are authorized to execute, and the administrative agent under the Interim

DIP Facility may file or record, any financing statements, mortgages, other instruments or any

other Definitive Document to further evidence the liens authorized, granted, and perfected hereby

and by the Initial Order.

       11.     Pursuant to Sections 364(e), 1519(a)(3), 1521(a)(7), and 105(a) of the Bankruptcy

Code, the validity of the indebtedness, and the priority of the liens authorized by the Initial Order

made enforceable in the United States by this Order, shall not be affected by any reversal or

modification of this Order, on appeal or the entry of an order denying recognition of the CCAA

Proceeding pursuant to Section 1517 of the Bankruptcy Code.

       12.     No action, inaction or acquiescence by the Interim DIP Lender, including, without

limitation, funding the Debtors’ ongoing operations under this Order, shall be deemed to be or

shall be considered as evidence of any alleged consent by the Interim DIP Lender to a charge

against the collateral pursuant to Sections 506(c), 552(b) or 105(a) of the Bankruptcy Code. The

Interim DIP Lender shall not be subject in any way whatsoever to the equitable doctrine of

“marshaling” or any similar doctrine with respect to the collateral.

       13.     Effective on a provisional basis upon entry of this Order, to the extent precluded by

or provided for under the Initial Order, no person or entity shall be entitled, directly or indirectly,

whether by operation of Sections 506(c), 552(b) or 105 of the Bankruptcy Code or otherwise, to

direct the exercise of remedies or seek (whether by order of this Court or otherwise) to marshal or



                                                  10
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                  Document      Page 26 of 56



otherwise control the disposition of any collateral or property after a breach under the Interim DIP

Facility, the Definitive Documents, the Initial Order or this Order.

       14.     The Foreign Representative, Debtors, and their respective agents are authorized to

serve or provide any notices required under the Bankruptcy Rules or local rules of this Court.

       15.     Notwithstanding any provision in the Bankruptcy Rules to the contrary, including,

but not limited to, Bankruptcy Rules 7062 and 1018, (i) this Order shall be effective immediately

and enforceable upon its entry; (ii) the Foreign Representative and the Interim DIP Lender are not

subject to any stay in the implementation, enforcement or realization of the relief granted in this

Order; and (iii) the Foreign Representative and the Debtors are authorized and empowered, and

may in their discretion and without further delay, take any action and perform any act necessary

to implement and effectuate the terms of this Order.

       16.     This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and/or enforcement of this Order.

                                        END OF ORDER

Prepared and Presented by:

JONES & WALDEN LLC

/s/ Cameron M. McCord
Cameron McCord
Georgia Bar No. 143065
Mark Gensburg
Georgia Bar No. 213119
Attorneys for Debtors
699 Piedmont Ave NE
Atlanta, Georgia 30308
(404)564-9300
cmccord@joneswalden.com
mgensburg@joneswalden.com

Counsel for Debtors and Foreign Representative



                                                11
Case 23-56798-pmb   Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20   Desc Main
                            Document      Page 27 of 56



                                   EXHIBIT B

                                   Initial Order
          Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                           Document      Page 28 of 56


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                                                                                        Vancouver Registry
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supfLemhiqiir^                      HE SUPREME COURT OF BRITISH COLUMBIA

OF BRITISH COLUMBIA
             IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT,
                                 R.S.C. 1985, c. C-36, AS AMENDED
                                                 AND
VANCOUVER             IN THE MATTER OF THE BUSINESS CORPORATIONS ACT,
 REGISTRYsb C. 2002, c. 57, AS AMENDED AND THE BUSINESS CORPORATIONS ACT, R.S.O.
                                       1990, C. B.16, AS AMENDED
                                                 AND
           AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
                  BRON MEDIA CORP. AND THE ENTITIES LISTED AT SCHEDULE “A”
                                                                      PETITIONERS

                                                     PETITIONERS

                                      ORDER MADE AFTER APPLICATION

              BEFORE THE HONOURABLE                         )
                                                            )      19/07/2023
              JUSTICE GOMERY                                )


              THE APPLICATION of the Petitioners coming on for hearing at Vancouver, British Columbia,
              on the 19th day of July, 2023 (the “Order Date”); AND ON HEARING Asirn Iqbal and Bryan
              Hicks, counsel for the Petitioners and those other counsel listed on Schedule “C” hereto; AND
              UPON READING the material filed, including the First Affidavit of Aaron Gilbert sworn July
              18, 2023 (the “Gilbert Affidavit”) and the consent of Grant Thornton Limited to act as Monitor
              (in such capacity, the “Monitor”);


              AND UPON BEING ADVISED that the secured creditors who are likely to be affected by the
              charges created herein were given notice; AND pursuant to the Companies’ Creditors
              Arrangement Act, R.S.C. 1985 c. C-36 as amended (the “CCAA”), the British Columbia
              Supreme Court Civil Rules and the inherent jurisdiction of this Honourable Court;




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Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                 Document      Page 29 of 56



   THIS COURT ORDERS AND DECLARES THAT:


   JURISDICTION


   1.      The Petitioners are companies to which the CCAA applies.


   SUBSEQUENT HEARING DATE


   2.      The hearing of the Petitioners’ application for an extension of the Stay Period (as
   defined in paragraph 15 of this Order) and for any ancillary relief shall be held at the
   Courthouse at 800 Smithe Street, Vancouver, British Columbia at 9:00 a.m. on Thursday, the
   27th day of July, 2023 for one hour and continuing at 9:00 a.m. on Friday, the 28th day of July,
   2023 for one hour, or such other date as this Court may order.


   PLAN OF ARRANGEMENT


   3.      The Petitioners shall have the authority to file and may, subject to further order of this
   Court, file with this Court a plan of compromise or arrangement (hereinafter referred to as the
   “Plan”).


   POSSESSION OF PROPERTY AND OPERATIONS


   4.      Subject to this Order and any further Order of this Court, the Petitioners shall remain in
   possession and control of their current and future assets, licences, undertakings and properties
   of every nature and kind whatsoever, and wherever situate including all proceeds thereof (the
   “Property”), and continue to carry on their business (the “Business”) in the ordinary course
   and in a manner consistent with the preservation of the Business and the Property.            The
   Petitioners shall be authorized and empowered to continue to retain and employ the employees,
   consultants, agents, experts, accountants, counsel and such other persons (collectively,
   “Assistants”) currently retained or employed by them, with liberty to retain such further
   Assistants as they deem reasonably necessary or desirable in the ordinary course of business or
   for carrying out the terms of this Order.




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Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                 Document      Page 30 of 56



  CASH MANAGEMENT SYSTEM


   5.     The Petitioners shall be entitled to continue to utilize the central cash management
   system currently in place as described in the Gilbert Affidavit or, with the prior written consent
  of the Interim Lender (as hereinafter defined) and the Monitor, replace it with another
   substantially similar central cash management system (the “Cash Management System”), and
  that any present or future bank providing the Cash Management System shall not be under any
  obligation whatsoever to inquire into the propriety, validity or legality of any transfer, payment,
   collection or other action taken under the Cash Management System, or as to the use or
   application by any of the Petitioners of funds transferred, paid, collected or otherwise dealt with
  in the Cash Management System, shall be entitled to provide the Cash Management System
  without any liability in respect thereof to any Person (as hereinafter defined) other than the
  Petitioners, pursuant to the terms of the documentation applicable to the Cash Management
   System, and shall be, in its capacity as provider of the Cash Management System, an unaffected
  creditor under the Plan (if any) with regard to any claims or expenses it may suffer or incur in
   connection with the provision of the Cash Management System.


  6.      Subject to the terms of the DIP Term Sheet and Definitive Documents (each, as
  hereinafter defined), the Petitioners shall be entitled, but not required, to pay the following
  expenses which may have been incurred prior to the Order Date:


          (a)     all outstanding wages, salaries, employee and pension benefits (including long
                  and short term disability payments), vacation pay and expenses (but excluding
                  severance pay) payable before or after the Order Date, in each case incurred in
                  the ordinary course of business and consistent with the relevant compensation
                  policies and arrangements existing at the time incurred (collectively “Wages”);


          (b)     the fees and disbursements of any Assistants retained or employed by any of the
                  Petitioners which are related to the Restructuring (as hereinafter defined), at their
                  standard rates and charges, including payment of the fees and disbursements of
                  legal counsel retained by the Petitioners, whenever and wherever incurred, in
                  respect of:




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Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                 Document      Page 31 of 56



                 (i)     these proceedings or any other similar proceedings in other jurisdictions
                         in which any of the Petitioners or any subsidiaries or affiliated companies
                         of the Petitioners are domiciled;

                 (ii)    any litigation in which any of the Petitioners are named as a party or are
                         otherwise involved, whether commenced before or after the Order Date;
                         and

                 (iii)   any related corporate matters; and

          (c)    with the prior written consent of the Monitor and the Interim Lender, amounts
                 owing for goods and services actually supplied to the Petitioners in the ordinary
                 course of business and consistent' with existing policies and procedures
                 (including,   without limitation,   outstanding source deductions owing to
                 governmental authorities).


  7.      Except as otherwise provided herein and subject to the terms of the DIP Term Sheet and
  Definitive Documents, the Petitioners shall be entitled to pay all expenses reasonably incurred
  by the Petitioners in carrying on the Business in the ordinary course following the Order Date,
  and in carrying out the provisions of this Order, which expenses shall include, without
  limitation:

          (a)    all expenses and capital expenditures reasonably incurred and which are
                 necessary for the preservation of the Property or the Business including, without
                 limitation, payments on account of insurance (including directors’ and officers’
                 insurance), maintenance and security services, provided that any capital
                 expenditure exceeding $100,000 shall be approved by the Monitor;

          (b)    all obligations incurred by the Petitioners after the Order Date, including without
                 limitation, with respect to goods and services actually supplied to the Petitioners
                 following the Order Date (including those under purchase orders outstanding at
                 the Order Date but excluding any interest on the Petitioners’ obligations incurred
                 prior to the Order Date); and

          (c)    fees and disbursements of the kind referred to in paragraph 6(b) which may be
                 incurred after the Order Date.




  70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20               Desc Main
                                 Document      Page 32 of 56



  8.      The Petitioners are authorized to remit, in accordance with legal requirements, or pay:

          (a)    any statutory deemed trust amounts in favour of the Crown in right of Canada or
                 of any Province thereof or any other taxation authority which are required to be
                 deducted from Wages, including, without limitation, amounts in respect of (i)
                 employment insurance, (ii) Canada Pension Plan, (iii) Quebec Pension Plan, and
                 (iv) income taxes or any such claims which are to be paid pursuant to Section
                 6(3) of the CCAA;

          (b)    all goods and services or other applicable sales taxes (collectively, “Sales
                 Taxes”) required to be remitted by the Petitioners in connection with the sale of
                 goods and services by the Petitioners, but only where such Sales Taxes accrue or
                 are collected after the Order Date, or where such Sales Taxes accrued or were
                 collected prior to the Order Date but not required to be remitted until on or after
                 the Order Date; and

          (c)    any amount payable to the Crown in right of Canada or of any Province thereof
                 or any political subdivision thereof or any other taxation authority in respect of
                 municipal property taxes, municipal business taxes or other taxes, assessments or
                 levies of any nature or kind which are entitled at law to be paid in priority to
                 claims of secured creditors.


  9.      Until such time as a real property lease is disclaimed in accordance with the CCAA, the
  Petitioners shall pay, without duplication, all amounts constituting rent or payable as rent under
  real property leases (including, for greater certainty, common area maintenance charges, utilities
  and realty taxes and any other amounts payable as rent to the landlord under the lease, but for
  greater certainty, excluding accelerated rent or penalties, fees or other charges arising as a result
  of the insolvency of the Petitioners or the making of this Order) based on the terms of existing
  lease arrangements or as otherwise may be negotiated between the Petitioners and the landlord
  from time to time (“Rent”), for the period commencing from and including the Order Date,
  twice-monthly in equal payments on the first and fifteenth day of the month in advance (but not
  in arrears).   On the date of the first of such payments, any Rent relating to the period
  commencing from and including Order Date shall also be paid.



  70855982.8
Case 23-56798-pmb              Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                       Document      Page 33 of 56



  10.         Except as specifically permitted herein and subject to the DIP Term Sheet and the
  Definitive Documents, the Petitioners are hereby directed, until further Order of this Court:

              (a)      to make no payments of principal, interest thereon or otherwise on account of
                       amounts owing by any of the Petitioners to any of their respective creditors as of
                       the Order Date except as authorized by this Order;

              (b)      to make no payments in respect of any financing leases which create security
                       interests;


              (c)      to grant no security’interests, trust, mortgages, liens, charges or encumbrances
                       upon or in respect of any of their Property, nor become a guarantor or surety
                       (other than in the ordinary course of the Business and with the prior written
                       consent of the Interim Lender, where a completion guarantee or other bond is
                       required to be posted by one or more of the Petitioners in connection with the
                       production of an animated or live-action film, series television or other
                       production), nor otherwise become liable in any manner with respect to any other
                       Person or entity except as authorized by this Order;

              (d)      to not grant credit except in the ordinary course of the Business only to their
                       customers for goods and services actually supplied to those customers, provided
                       such customers agree that there is no right of set-off in respect of amounts owing
                       for such goods and services against any debt owing by the Petitioners to such
                       customers as of the Order Date; and

              (e)      to not incur liabilities except in the ordinary course of Business.


  RESTRUCTURING


  11.         Subject to such requirements as are imposed by the CCAA and such covenants as may
  be contained in the DIP Term Sheet or Definitive Documents, the Petitioners shall have the
  right to:
        (a)         permanently or temporarily cease, downsize or shut down all or any part of their
                    Business or operations and commence marketing efforts in respect of any of their



  70855982.8
Case 23-56798-pmb            Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                     Document      Page 34 of 56



                 redundant or non-material assets and to dispose of redundant or non-material assets
                 not exceeding $       500,000        in any one transaction or $       1,000,000
                 in the aggregate;

        (b)      terminate the employment of such of their employees or temporarily lay off such of
                 their employees as they deem appropriate; and

        (c)      pursue all avenues of refinancing for their Business or Property, in whole or part;


              all of the foregoing to permit the Petitioners to proceed with an orderly restructuring of
              the Business (the “Restructuring”).


  12.         The Petitioners shall provide each of the relevant landlords with notice of the
  Petitioners’ intention to remove any fixtures from any leased premises at least seven (7) days
  prior to the date of the intended removal. The relevant landlord shall be entitled to have a
  representative present in the leased premises to observe such removal and, if the landlord
  disputes the Petitioners’ entitlement to remove any such fixture under the provisions of the
  lease, such fixture shall remain on the premises and shall be dealt with as agreed between any
  applicable secured creditors who claim a security interest in the fixtures, such landlord and the
  Petitioners, or by further Order of this Court upon application by the Petitioners, the landlord or
  the applicable secured creditors on at least two (2) clear days’ notice to the other parties. If the
  Petitioners disclaims the lease governing such leased premises in accordance with Section 32 of
  the CCAA, they shall not be required to pay Rent under such lease pending resolution of any
  dispute concerning such fixtures (other than Rent payable for the notice period provided for in
  Section 32(5) of the CCAA), and the disclaimer of the lease shall be without prejudice to the
  Petitioners’ claim to the fixtures in dispute.


  13.         If a notice of disclaimer is delivered pursuant to Section 32 of the CCAA, then: (a)
  during the period prior to the effective time of the disclaimer, the landlord may show the
  affected leased premises to prospective tenants during normal business hours on giving the
  Petitioners and the Monitor 24 hours’ prior written notice; and (b) at the effective time of the
  disclaimer, the landlord shall be entitled to take possession of any such leased premises without




  70855982.8
Case 23-56798-pmb         Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                  Document      Page 35 of 56




 waiver of or prejudice to any claims the landlord may have against the Petitioners, or any other
 rights the landlord might have, in respect of such lease or leased premises and the landlord shall
 be entitled to notify the Petitioners of the basis on which it is taking possession and gain
 possession of and re-lease such leased premises to any third party or parties on such terms as the
 landlord considers advisable, provided that nothing herein shall relieve the landlord of its
 obligation to mitigate any damages claimed in connection therewith.


 14.     Pursuant to Section 7(3)(c) of the Personal Information Protection and Electronics
 Documents Act, S.C. 2000, c. 5 and Section 18(l)(o) of the Personal Information Protection
 Act, S.B.C. 2003, c. 63, and any regulations promulgated under authority of either Act, as
 applicable (the “Relevant Enactment”), the Petitioners, in the course of these proceedings, are
 permitted to, and hereby shall, disclose personal information of identifiable individuals in their
 possession or control to stakeholders, their advisors, prospective investors, financiers, buyers or
 strategic partners (collectively, “Third Parties”), but only to the extent desirable or required to
 negotiate and complete the Restructuring or to prepare and implement the Plan or transactions
 for that purpose; provided that the Third Parties to whom such personal information is disclosed
 enter into confidentiality agreements with the Petitioners binding them in the same manner and
 to the same extent with respect to the collection, use and disclosure of that information as if they
 were an organization as defined under the Relevant Enactment, and limiting the use of such
 information to the extent desirable or required to negotiate or complete the Restructuring or to
 prepare and implement the Plan or transactions for that purpose, and attorning to the jurisdiction
 of this Court for the purposes of that agreement. Upon the completion of the use of personal
 information for the limited purposes set out herein, the Third Parties shall return the personal
 information to the Petitioners or destroy it. If the Third Parties acquire personal information as
 part of the Restructuring or the preparation and implementation of the Plan or transactions in
 furtherance thereof, such Third Parties may, subject to this paragraph and any Relevant
 Enactment, continue to use the personal information in a manner which is in all respects
 identical to the prior use thereof by the Petitioners.




 70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                 Document      Page 36 of 56



  STAY OF PROCEEDINGS, RIGHTS AND REMEDIES

  15.     Until and including July 29, 2023, or such later date as this Court may order (the “Stay
  Period”), no action, suit or proceeding in any court or tribunal (each, a “Proceeding”) against
  or in respect of the Petitioners or the Monitor, or affecting the Business or the Property, shall be
  commenced or continued except with the prior written consent of the Petitioners and the
  Monitor or with leave of this Court, and any and all Proceedings currently under way against or
  in respect of the Petitioners or affecting the Business or the Property are hereby stayed and
  suspended pending further Order of this Court.


  16.     During the Stay Period, all rights and remedies of any individual, firm, corporation,
  organization, governmental body or agency, or any other entities (all of the foregoing,
  collectively being “Persons” and each being a “Person”) against or in respect of any of the
  Petitioners or the Monitor, or affecting the Business or the Property, are hereby stayed and
  suspended except with the prior written consent of the Petitioners and the Monitor or leave of
  this Court.


  17.      Nothing in this Order, including paragraphs 15 and 16, shall: (i) empower the
  Petitioners to carry on any business which the Petitioners are not lawfully entitled to carry on;
  (ii) affect such investigations, actions, suits or proceedings by a regulatory body as are
  permitted by Section 11.1 of the CCAA; (iii) prevent the filing of any registration to preserve or
  perfect a mortgage, charge or security interest (subject to the provisions of Section 39 of the
  CCAA relating to the priority of statutory Crown securities); or (iv) prevent the registration or
  filing of a lien or claim for lien or the commencement of a Proceeding to protect lien or other
  rights that might otherwise be barred or extinguished by the effluxion of time, provided that no
  further step shall be taken in respect of such lien, claim for lien or Proceeding except for service
  of the initiating documentation on the Petitioners.


  STAY IN RESPECT OF THE NON-PETITIONER ENTITIES


  18.     During the Stay Period, no Person shall (a) commence any Proceeding or enforcement
  process, (b) terminate, repudiate, make any demand, accelerate, alter, amend, declare in default,




  70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                 Document      Page 37 of 56



  exercise any options, rights or remedies, or (c) discontinue, fail to honour, alter, interfere with
  or cease to perform any obligation pursuant to or in respect of any agreement, lease, sublease
  license or permit with respect to which any of the Non-Petitioner Entities (as defined in the
  Gilbert Affidavit) listed at Schedule “B” hereto are a party, borrower, principal obligor or
  guarantor, by reason of:


          (a)     any of the Petitioners being insolvent, having become subject to insolvency
                  proceedings, or having made an petition to this Court under the CCAA or the
                  granting of this Order;


          (b)     any of the Petitioners being party to these proceedings or taking any steps related
                 thereto;


          (c)    the stay of proceedings granted pursuant to this paragraph 18;


          (d)    any default or cross-default arising from the matters set out in the foregoing
                 subparagraphs (a) to (c),


          except with the prior written consent of the Petitioners and the Monitor, or with leave of
          this Court.


  NO INTERFERENCE WITH RIGHTS


  19.     During the Stay Period, no Person shall accelerate, suspend, discontinue, fail to honour,
  alter, interfere with, repudiate, rescind, terminate or cease to perform any right, renewal right,
  contract, agreement, lease, sublease, licence, authorization or permit in favour of or held by any
  of the Petitioners, except with the prior written consent of the Petitioners and the Monitor or
  leave of this Court.




  70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20               Desc Main
                                 Document      Page 38 of 56



  CONTINUATION OF SERVICES


  20.     During the Stay Period, all Persons having oral or written agreements with any of the
  Petitioners or mandates under an enactment for the supply of goods and/or services, including
  without limitation all computer software, communication and other data services, centralized
  banking services, payroll and benefit services, accounting services, insurance, transportation,
  services, utility, or other services, to the Business or any of the Petitioners, are hereby restrained
  until further Order of this Court from discontinuing, altering, interfering with, suspending or
  terminating the supply of such goods or services as may be required by any of the Petitioners,
  and that the Petitioners shall be entitled to the continued use of their current premises, telephone
  numbers, facsimile numbers, internet addresses and domain names, provided in each case that
  the normal prices or charges for all such goods or services received after the Order Date are paid
  by the Petitioners in accordance with normal payment practices of the Petitioners or such other
  practices as may be agreed upon by the supplier or service provider and the applicable
  Petitioners and the Monitor, or as may be ordered by this Court.


  NON-DEROGATION OF RIGHTS


  21.     Notwithstanding any provision in this Order, no Person shall be prohibited from
  requiring immediate payment for goods, services, use of leased or licensed property or other
  valuable consideration provided on or after the Order Date, nor shall any Person be under any
  obligation to advance or re-advance any monies or otherwise extend any credit to the Petitioners
  on or after the Order Date. Nothing in this Order shall derogate from the rights conferred and
  obligations imposed by the CCAA.


  PROCEEDINGS AGAINST DIRECTORS AND OFFICERS


  22.     During the Stay Period, and except as permitted by subsection 11.03(2) of the CCAA,
  no Proceeding may be commenced or continued against the directors or officers of any of the
  Petitioners with respect to any claim against the directors or officers that arose before the date
  hereof and that relates to any obligations of any of the Petitioners whereby the directors or
  officers are alleged under any law to be liable in their capacity as directors or officers for the




  70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                 Document      Page 39 of 56



  payment or performance of such obligations, until a compromise or arrangement in respect of
  the Petitioners, if one is filed, is sanctioned by this Court or is refused by the creditors of the
  Petitioners or this Court. Nothing in this Order, including in this paragraph, shall prevent the
  commencement of a Proceeding to preserve any claim against a director or officer of any of the
  Petitioners that might otherwise be barred or extinguished by the effluxion of time, provided
  that no further step shall be taken in respect of such Proceeding except for service of the
  initiating documentation on the applicable director or officer.


  DIRECTORS AND OFFICERS INDEMNIFICATION AND CHARGE


  23.     The Petitioners shall indemnify their directors and officers against obligations and
  liabilities that they may incur as directors or officers of the Petitioners after the commencement
  of the within proceedings, except to the extent that, with respect to any director or officer, the
  obligation or liability was incurred as a result of the director’s or officer’s gross negligence or
  wilful misconduct.


  24.     The directors and officers of the Petitioners shall be entitled to the benefit of and are
  hereby granted a charge (the “Directors’ Charge”) on the Property, which charge shall not
  exceed an aggregate amount of USD $250,000, as security for the indemnity provided in
  paragraph 22 of this Order. The Directors’ Charge shall have the priority set out in paragraphs
  41 and 43 herein.


  25.     Notwithstanding any language in any applicable insurance policy to the contrary, (a) no
  insurer shall be entitled to be subrogated to or claim the benefit of the Directors’ Charge, and
  (b) the Petitioners’ directors and officers shall only be entitled to the benefit of the Directors’
  Charge to the extent that they do not have coverage under any directors’ and officers’ insurance
  policy, or to the extent that such coverage is insufficient to pay amounts indemnified in
  accordance with paragraph 23 of this Order.




  70855982.8
Case 23-56798-pmb       Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                Document      Page 40 of 56



  APPOINTMENT OF MONITOR


  26.     Grant Thornton Limited is hereby appointed pursuant to the CCAA as the Monitor, an
  officer of this Court, to monitor the business and financial affairs of the Petitioners with the
  powers and obligations set out in the CCAA or set forth herein, and that the Petitioners and their
  shareholders, officers, directors, and Assistants shall advise the Monitor of all material steps
  taken by the Petitioners pursuant to this Order, and shall co-operate fully with the Monitor in
  the exercise of its powers and discharge of its obligations and provide the Monitor with the
  assistance that is necessary to enable the Monitor to adequately carry out the Monitor's
  functions.


  27.     The Monitor, in addition to its prescribed rights and obligations under the CCAA, is
  hereby directed and empowered to:


          (a)    monitor the Petitioners’ receipts and disbursements;


          (b)    report to this Court at such times and intervals as the Monitor may deem
                 appropriate with respect to matters relating to the Property, the Business, the DIP
                 Term Sheet, the Definitive Documents and such other matters as may be relevant
                 to the proceedings herein;


          (c)    assist the Petitioners, to the extent required by the Petitioners, in their
                 dissemination, to the Interim Lender and its counsel, as and when required or
                 permitted under the DIP Term Sheet or the Definitive Documents or as otherwise
                 reasonably required by the Interim Lender, of financial and other information as
                 agreed to between the Petitioners and the Interim Lender which may be used in
                 these proceedings including reporting on a basis to be agreed with the Interim
                 Lender;


          (d)    advise the Petitioners in their preparation of the Petitioners’ cash flow statements
                 and reporting required by the Interim Lender, which information shall be
                 reviewed with the Monitor and delivered to the Interim Lender and its counsel as




  70855982.8
Case 23-56798-pmb       Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20             Desc Main
                                Document      Page 41 of 56



                and when required under the DIP Term Sheet and the Definitive Documents or
                as otherwise agreed to by the Interim Lender;


         (e)    advise the Petitioners in their development of the Plan and any amendments to
                the Plan;


         (f)    assist the Petitioners, to the extent required by the Petitioners, with the holding
                and administering of creditors’ or shareholders’ meetings for voting on the Plan;


         (g)    monitor all payments, obligations and transfers as between any of the Petitioners;


         (h)    have full and complete access to the Property, including the premises, books,
                records, data, including data in electronic form, and other financial documents of
                the Petitioners, to the extent that is necessary to adequately assess the
                Petitioners’ business and financial affairs or to perform its duties arising under
                this Order;


         (i)    be at liberty to engage independent legal counsel or such other Persons as the
                Monitor deems necessary or advisable respecting the exercise of its powers and
                performance of its obligations under this Order; and

         (j)    perform such other duties as are required by this Order or by this Court from
                time to time.


 28.     The Monitor shall not take possession of the Property and shall take no part whatsoever
 in the management or supervision of the management of the Business and shall not, by fulfilling
 its obligations hereunder, or by inadvertence in relation to the due exercise of powers or
 performance of duties under this Order, be deemed to have taken or maintained possession or
 control of the Business or Property, or any part thereof, and nothing in this Order shall be
 construed as resulting in the Monitor being an employer or a successor employer, within the
 meaning of any statute, regulation or rule of law or equity, for any purpose whatsoever.




 70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                 Document      Page 42 of 56



 29.     Nothing herein contained shall require or allow the Monitor to occupy or to take control,
 care, charge, possession or management (separately and/or collectively, “Possession”) of any of
 the Property that might be environmentally contaminated, might be a pollutant or a
 contaminant, or might cause or contribute to a spill, discharge, release or deposit of a substance
 contrary to any federal, provincial or other law respecting the protection, conservation,
 enhancement, remediation or rehabilitation of the environment or relating to the disposal of
 waste or other contamination including, without limitation, the Canadian Environmental
 Protection Act, the Fisheries Act, the British Columbia Environmental Management Act, the
 British Columbia Fish Protection Act and regulations thereunder (the “Environmental
 Legislation”), provided however that nothing herein shall exempt the Monitor from any duty to
 report or make disclosure imposed by applicable Environmental Legislation.              For greater
 certainty, the Monitor shall not, as a result of this Order or anything done in pursuance of the
 Monitor’s duties and powers under this Order, be deemed to be in Possession of any of the
 Property within the meaning of any Environmental Legislation, unless it is actually in
 possession.


 30.     The Monitor shall provide any creditor of the Petitioners and the Interim Lender with
 information provided by the Petitioners in response to reasonable requests for information made
 in writing by such creditor addressed to the Monitor.         The Monitor shall not have any
 responsibility or liability with respect to the information disseminated by it pursuant to this
 paragraph. In the case of information that the Monitor has been advised by the Petitioners is
 confidential, the Monitor shall not provide such information to creditors unless otherwise
 directed by this Court or on such terms as the Monitor and the Petitioners may agree.


 31.     In addition to the rights and protections afforded the Monitor under the CCAA or as an
 officer of this Court, the Monitor shall incur no liability or obligation as a result of its
 appointment or the carrying out of the provisions of this Order, save and except for any gross
 negligence or wilful misconduct on its part. Nothing in this Order shall derogate from the rights
 and protections afforded the Monitor by the CCAA or any applicable legislation.


 32.     The Monitor, counsel to the Monitor, if any, and counsel to the Petitioners shall be paid
 their reasonable fees and disbursements, in each case at their standard rates and charges, by the



 70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                 Document      Page 43 of 56



  Petitioners as part of the cost of these proceedings. The Petitioners are hereby authorized and
  directed to pay the accounts of the Monitor, counsel to the Monitor and counsel to the
  Petitioners on a periodic basis and, in addition, the Petitioners are hereby authorized to pay to
  the Monitor, counsel to the Monitor, and counsel to the Petitioners, retainers in the amount[s] of
  $50,000, respectively, to be held by them as security for payment of their respective fees and
  disbursements outstanding from time to time.


  33.     The Monitor and its legal counsel shall pass their accounts from time to time, and for
  this purpose the accounts of the Monitor and its legal counsel are hereby referred to a judge of
  the British Columbia Supreme Court who may determine the manner in which such accounts
  are to be passed, including by hearing the matter on a summary basis or referring the matter to a
  Registrar of this Court.


  ADMINISTRATION CHARGE


  34.     The Monitor, counsel to the Monitor, if any, and counsel to the Petitioners shall be
  entitled to the benefit of and are hereby granted a charge (the “Administration Charge”) on the
  Property, which charge shall not exceed an aggregate amount of USD $250,000, as security for
  their respective fees and disbursements incurred at the standard rates and charges of the Monitor
  and such counsel, both before and after the making of this Order which are related to the
  Petitioners’ restructuring.    The Administration Charge shall have the priority set out in
  paragraphs 41 and 43 hereof.


  INTERIM FINANCING


  35.     The Petitioners are hereby authorized and empowered to obtain and borrow under a
  credit facility (the “DIP Facility”) from Creative Wealth Media Lending LP 2016 (the “Interim
  Lender”) in order to finance the continuation of the Business and preservation of the Property,
  all in accordance with the DIP Term Sheet and the Definitive Documents, provided that
  borrowings under the DIP Facility shall not exceed the aggregate principal amount of USD
  $ 1,751,409 unless permitted by further Order of this Court.




  70855982.8
Case 23-56798-pmb          Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20            Desc Main
                                   Document      Page 44 of 56



  36.       The DIP Facility shall be on the terms and subject to the conditions set forth in the DIP
  Term Sheet between the Petitioners and the Interim Lender dated as of July 18, 2023 (the “DIP
  Term Sheet”), filed.


  37.       The Petitioners are hereby authorized and empowered to execute and deliver such credit
  agreements, mortgages, charges, hypothecs and security documents, guarantees and other
  definitive documents (collectively, the “Definitive Documents”), as are contemplated by the
  DIP Term Sheet or as may be reasonably required by the Interim Lender pursuant to the terms
  thereof, and the Petitioners are hereby authorized and directed to pay and perform all of their
  indebtedness, interest, fees, liabilities and obligations to the Interim Lender under and pursuant
  to the DIP Term Sheet and the Definitive Documents as and when the same become due and are
  to be performed, notwithstanding any other provision of this Order.


  38.       The Interim Lender shall be entitled to the benefit of and is hereby granted a charge (the
  “Interim Lender’s Charge”) on the Property up to the maximum amount of USD $1,751,409.
  (plus accrued and unpaid interest, fees and expenses) to secure amounts advanced under the DIP
  Facility. The Interim Lender’s Charge shall not secure an obligation that exists before this Order
  is made. The Interim Lender’s Charge shall have the priority set out in paragraphs 41 and 43
  hereof.


  39.       Notwithstanding any other provision of this Order:


            (a)    the Interim Lender may take such steps from time to time as it may deem
                   necessary or appropriate to file, register, record or perfect the Interim Lender’s
                   Charge or any of the Definitive Documents;


            (b)    upon the occurrence and during the continuance of an Event of Default (as
                   defined in the DIP Term Sheet), whether or not there is availability under the
                   DIP Facility and notwithstanding any stay imposed under this Order: (i) without
                   any notice to the Petitioners, the Petitioners shall have no right to receive any
                   additional advances thereunder or other accommodation of credit from the
                   Interim Lender except in the sole discretion of the Interim Lender; and (ii) the




  70855982.8
Case 23-56798-pmb       Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                Document      Page 45 of 56



                Interim Lender may immediately terminate the DIP Facility and demand
                immediate payment of all obligations owing thereunder by providing such notice
                and demand to the Petitioners, with a copy to the Monitor;


         (c)    with leave of this Court, sought on not less than three (3) business days’ notice to
                the Petitioners and the Monitor after the occurrence and during the continuance
                of an Event of Default, the Interim Lender shall have the right to enforce the
                Interim Lender’s Charge and to exercise all other rights and remedies in respect
                of the obligations owing under the DIP Facility and the Interim Lender’s Charge;
                and


         (d)    the foregoing rights and remedies of the Interim Lender shall be enforceable
                against any trustee in bankruptcy, interim receiver, receiver or receiver and
                manager of the Petitioners or the Property.


 40.     The Interim Lender, in such capacity, shall be treated as unaffected in any plan of
  arrangement or compromise filed by the Petitioners under the CCAA, or any proposal filed by
  the Petitioners under the Bankruptcy and Insolvency Act of Canada (the “BIA”), with respect to
  any advances made under the Definitive Documents.

 VALIDITY AND PRIORITY OF CHARGES CREATED BY THIS ORDER


 41.     The priorities of the Administration Charge, the Directors’ Charge and the Interim
 Lender’s Charge (collectively, the “Charges”, as among them, shall be as follows:

         First - Administration Charge (to the maximum amount of USD $250,000);

         Second - Interim Lender’s Charge (to the maximum amount of USD $1,751,409.00
         plus accrued and       unpaid interest, fees and expenses);

         Third - Directors’ Charge (to the maximum amount of USD $250,000).


 42.     Any security documentation evidencing, or the filing, registration or perfection of, the
 Charges shall not be required, and that the Charges shall be effective as against the Property and




 70855982.8
Case 23-56798-pmb        Doc 9     Filed 07/20/23 Entered 07/20/23 10:33:20           Desc Main
                                  Document      Page 46 of 56



  shall be valid and enforceable for all purposes, including as against any right, title or interest
  filed, registered or perfected subsequent to the Charges coming into existence, notwithstanding
  any failure to file, register or perfect any such Charges.


  43.     Each of the Charges shall constitute a mortgage, hypothec, security interest, assignment
  by way of security and charge on the Property and such Charges shall rank in priority to all
  other security interests, trusts, liens, mortgages, charges and encumbrances and claims of
  secured creditors, statutory or otherwise (collectively, “Encumbrances”), in favour of any
  Person, save and except those claims contemplated by section 11.8(8) of the CCAA.
  Notwithstanding the foregoing or any other provision of this Order, the Charges shall not
  constitute an Encumbrance on any Property subject to an Encumbrance in favour of Comerica
  Bank; provided, however, that such exception shall be without prejudice to the ability of the
  Petitioners and the beneficiaries of the Charges to seek priority of the Charges ahead of or
  subordinate to additional Encumbrances on notice to those Persons likely to be affected by such
  Charge, including, without limitation, Comerica Bank.


  44.     Except as otherwise expressly provided herein, or as may be approved by this Court, the
  Petitioners shall not grant or suffer to exist any Encumbrances over any Property that rank in
  priority to, or pari passu with the Charges, unless the Petitioners obtain the prior written
  consent of the Monitor, the Interim Lender and the beneficiaries of the Administration Charge
  and the Director’s Charge.


  45.     The Charges, the DIP Term Sheet and the Definitive Documents shall not be rendered
  invalid or unenforceable and the rights and remedies of the chargees entitled to the benefit of
  the Charges (collectively, the “Chargees”) and/or the Interim Lender shall not otherwise be
  limited or impaired in any way by: (a) the pendency of these proceedings and the declarations of
  insolvency made herein; (b) any application(s) for bankruptcy order(s) or receivership order(s)
  issued pursuant to the BIA or otherwise, or any bankruptcy order or receivership order made
  pursuant to such applications; (c) the filing of any assignments for the general benefit of
  creditors made pursuant to the BIA; (d) the provisions of any federal or provincial statutes; or
  (e) any negative covenants, prohibitions or other similar provisions with respect to borrowings,
  incurring debt or the creation of Encumbrances, contained in any existing loan documents,



  70855982.8
Case 23-56798-pmb        Doc 9      Filed 07/20/23 Entered 07/20/23 10:33:20           Desc Main
                                   Document      Page 47 of 56



  lease, mortgage, security agreement, debenture, sublease, offer to lease or other agreement
  (collectively, an “Agreement”) which binds the Petitioners; and notwithstanding any provision
  to the contrary in any Agreement:


          (a)    neither the creation of the Charges nor the execution, delivery, perfection,
                 registration or performance of the DIP Term Sheet or the Definitive Documents
                 shall create or be deemed to constitute a breach by any of the Petitioners of any
                 Agreement to which any of the Petitioners is a party;


          (b)    none of the Chargees shall have any liability to any Person whatsoever as a result
                 of any breach of any Agreement caused by or resulting from the Petitioners
                 entering into the DIP Term Sheet, the creation of the Charges, or the execution,
                 delivery or performance of the Definitive Documents; and


          (c)    the payments made by the Petitioners pursuant to this Order, the DIP Term Sheet
                 or the Definitive Documents, and the granting of the Charges, do not and will not
                 constitute preferences,     fraudulent   conveyances,   transfers   at undervalue,
                 oppressive conduct, or other challengeable or voidable transactions under any
                 applicable law.


  46.     Any Charge created by this Order over leases of real property in Canada shall only be a
  Charge in the Petitioners’ interest in such real property leases.


  SERVICE AND NOTICE


  47.     The Monitor shall: (i) without delay, publish in The Globe and Mail (National Edition)
  a notice containing the information prescribed under the CCAA; and (ii) within five days after
  Order Date, (A) make this Order publicly available in the manner prescribed under the CCAA,
  (B) send, in the prescribed manner, a notice to every known creditor who has a claim against the
  Petitioners of more than $1,000, and (C) prepare a list showing the names and addresses of
  those creditors and the estimated amounts of those claims, and make it publicly available in the




  70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                 Document      Page 48 of 56



  prescribed manner, all in accordance with Section 23(1 )(a) of the CCAA and the regulations
  made thereunder.


  48.     The Petitioners and the Monitor are at liberty to serve this Order, any other materials and
  orders in these proceedings, any notices or other correspondence, by forwarding true copies
  thereof by prepaid ordinary mail, courier, personal delivery or electronic transmission to the
  Petitioners’ creditors or other interested parties at their respective addresses as last shown on the
  records of the Petitioners and that any such service or notice by courier, personal delivery or
  electronic transmission shall be deemed to be received on the next business day following the
  date of forwarding thereof, or if sent by ordinary mail, on the third business day after mailing.


  49.     Any Person that wishes to be served with any application and other materials in these
  proceedings must deliver to the Monitor by way of ordinary mail, courier, personal delivery or
  electronic transmission a request to be added to a service list (the “Service List”) to be
  maintained by the Monitor. The Monitor shall post and maintain an up to date form of the
  Service List on its website at: www.grantthomton.ca/BronMedia.


  50.     Any party to these proceedings may serve any court materials in these proceedings by
  emailing a PDF or other electronic copy of such materials to counsels’ email addresses as
  recorded on the Service List from time to time, and the Monitor shall post a copy of all
  prescribed materials on its website at: www.grantthomton.ca/BronMedia.


  51.     Notwithstanding paragraphs 48 and 50 of this Order, service of the Petition, the Notice
  of Hearing of Petition, any affidavits filed in support of the Petition and this Order shall be
  made on the Federal and British Columbia Crowns in accordance with the Crown Liability and
  Proceedings Act, R.S.C. 1985, c. C-50, and regulations thereto, in respect of the Federal Crown,
  and the Crown Proceeding Act, R.S.B.C. 1996, c. 89, in respect of the British Columbia Crown.

  FOREIGN PROCEEDINGS


  52.     BRON Media Corp., or any of the Petitioners, are hereby authorized and empowered to
  act as the foreign representative (as applicable, the “Foreign Representative”) in respect of




  70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20           Desc Main
                                 Document      Page 49 of 56



  these proceedings of the purpose of having these proceedings recognized in a foreign
  jurisdiction.


  53.     The Foreign Representative is authorized to apply for foreign recognition of these
  proceedings, as necessary or advisable, in any jurisdiction outside of Canada including, without
  limitation, the United States pursuant to Chapter 15 of Title 11 of the United States Code 11
  U.S.C., §§ 101 - 1532, the United Kingdom, Ireland and New Zealand.

  GENERAL


  54.     The Petitioners or the Monitor may from time to time apply to this Court for directions
  in the discharge of their powers and duties hereunder.


  55.     Nothing in this Order shall prevent the Monitor from acting as an interim receiver, a
  receiver, a receiver and manager, or a trustee in bankruptcy of the Petitioners, the Business or
  the Property.


  56.     This Court requests the aid and recognition of other Canadian and foreign Courts,
  tribunal, regulatory or administrative bodies, including any Court or administrative tribunal of
  any federal or State Court or administrative body in the United States of America, the United
  Kingdom, or any other foreign jurisdiction, to act in aid of and to be complementary to this
  Court in carrying out the terms of this Order where required. All courts, tribunals, regulatory
  and administrative bodies are hereby respectfully requested to make such orders and to provide
  such assistance to the Foreign Representative, the Petitioners and to the Monitor, as an officer
  of this Court, as may be necessary or desirable to give effect to this Order, to grant
  representative status to the Foreign Representative in any foreign proceeding, or to assist the
  Foreign Representative, Petitioners and the Monitor and their respective agents in carrying out
  the terms of this Order.


  57.     The Petitioners are hereby at liberty to apply for such further interim or interlocutory
  relief as it deems advisable within the time limited for Persons to file and serve Responses to
  the Petition.




  70855982.8
Case 23-56798-pmb        Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20              Desc Main
                                 Document      Page 50 of 56



  58.     Leave is hereby granted to hear any application in these proceedings on two (2) clear
  days’ notice after delivery to all parties on the Service List of such Notice of Application and all
  affidavits in support, subject to the Court in its discretion further abridging or extending the
  time for service.


  59.     Any interested party (including the Petitioners, the Interim Lender and the Monitor) may
  apply to this Court to vary or amend this Order on not less than seven (7) days’ notice to all
  parties on the Service List and to any other party or parties likely to be affected by the order
  sought or upon such other notice, if any, as this Court may order.


  60.     Eendorsement of this Order by counsel appearing on this application is hereby dispensed
  with.


  61.     This Order and all of its provisions are effective as of 12:01 a.m. local Vancouver time
  on the Order Date.


  62.     Leave is hereby granted for counsel to appear at future hearings in this matter remotely
  by video.

  THE FOLLOWING PARTIES APPROVE THE FORM OF THIS ORDER AND CONSENT
  TO EACH OF THE ORDERS, IF ANY, THAT ARE INDICATED ABOVE AS BEING BY
  CONSENT:




 70855982.8
Case 23-56798-pmb      Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20   Desc Main
                               Document      Page 51 of 56




   Signature of
   □ Party 0 Lawyer for the Petitioners




        Taranjeet Kaur




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  70855982.8
Case 23-56798-pmb       Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20       Desc Main
                                Document      Page 52 of 56




                                            Schedule “A"’
                                       List of Petitioners
               Debtor Company                                Jurisdiction
      1.       BRON Animation Inc.                           British Columbia

      2.       BRON Creative Corp.                           Ontario

      3.       BRON Developments Inc.                        British Columbia

      4.       BRON Media Corp.                              British Columbia

      5.       BRON Media Holdings Inti. Corp.               British Columbia

      6.       BRON Media Holdings USA Inc.                  British Columbia

      7.       BRON Releasing Inc.                           British Columbia

      8.       BRON Studios Inc.                             British Columbia

      9.       BRON Ventures 1 (Canada) Corp                 British Columbia

      10.      BRON Everest Productions Inc.                 Ontario

      11.      Fables Productions BC Inc.                    British Columbia

      12.      Gossamer Productions BC Inc.                  British Columbia

      13.      Hench 2 BC Productions Inc.                   British Columbia

      14.      Henchmen Productions Inc.                     British Columbia

      15.      Robin Hood Digital PC BC Inc.                 British Columbia

      16.      Windor Productions BC Inc.                    British Columbia

      17.      BRON Creative USA, Corp.                      Nevada

      18.      BRON Digital USA, LLC                         Delaware

      19.      BRON Life USA Inc. (BRON Legacy USA Inc.)     Delaware

      20.      BRON Media Holdings USA Corp.                 Delaware

      21.      BRON Releasing USA Inc.                       Delaware

      22.      BRON Studios USA Inc.                         Nevada




  70855982.8
Case 23-56798-pmb       Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20   Desc Main
                                Document      Page 53 of 56



      23.      BRON Ventures 1, LLC                         Delaware

      24.      BRON Studios USA Developments Inc.           Nevada

      25.      Bakhorma, LLC                                Washington

      26.      Drunk Parents, LLC                           New York

      27.      Fables Holdings USA, LLC                     Delaware

      28.      Fables Productions USA Inc                   Delaware

      29.      Gossamer Holdings USA, LLC                   Delaware

      30.      Gossamer Productions USA Inc.                Delaware

      31.      Harry Haft Productions, Inc.                 New York

      32.      Heavyweight Holdings, LLC                    Delaware
               (previously Harry Haft Films, LLC)

      33.      I Am Pink Productions, LLC                    Delaware

      34.      Lucite Desk, LLC                              Delaware

      35.      National Anthem Holdings, LLC                 Delaware
               (f. k. a. BCDC Holdings, LLC)
      36.      National Anthem ProdCo Inc.                  New Mexico

      37.      Oakland Pictures Holdings, LLC                Delaware

      38.      Pathway Productions, LLC                      Delaware

      39.      Robin Hood Digital PC USA Inc.                Delaware

      40.      Robin Hood Digital USA, LLC                   Delaware

      41.      Solitary Holdings USA, LLC                   Delaware

      42.      Surrounded Holdings USA LLC                   Delaware

      43.      Welcome to Me, LLC                            California




  70855982.8
Case 23-56798-pmb     Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20   Desc Main
                              Document      Page 54 of 56



                                       Schedule “B”
                                    Non-Petitioner Entities

  BRON Studios UK Ltd.
  BRON Releasing UK Ltd.
  CMA Productions UK Ltd.
  In Good Company Holdings Ltd.
  Kid Unknown Holdings Ltd (fka Hunaman Holdings Ltd.)
  Neon Club Productions, Ltd.
  Shadowplay Series Holdings UK Limited
  TDBB Holdings UK Ltd.
  Townsend Series Holdings UK Ltd.
  Townsend Series Holdings UK Ltd.
  Townsend Series Productions UK Ltd. (Grey Door Film Productions Ltd)
  Front Runner Productions, Inc.
  BRON Creative MG1, LLC
  BRON Creative WB 1, LLC
  BRON Labs LLC
  A Single Shot Movie, LLLP
  Blackhand Developments Inc.
  Blackhand Pictures, LLC
  BRON Next Film Production, LLC (BRON Life, LLC)
  BRON Pictures Holdings, LLC
  BRON Subnation Slate 1, LLC
  Rideg Film Holdings, LLC
  Brown Amy, LLC
  Driftless Area, LLC
  Drunk Parents Production Services Inc.
  Erostratus LA, LLC
  Erostratus, LLC
  Fonzo Production Services Inc.
  Fonzo, LLC
  Front Runner, LLC
  Green Moon Inc.




  70855982.8
Case 23-56798-pmb   Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20   Desc Main
                            Document      Page 55 of 56


                                     Schedule “C”


                                     List of Counsel




70855982.8
Case 23-56798-pmb    Doc 9    Filed 07/20/23 Entered 07/20/23 10:33:20   Desc Main
                             Document      Page 56 of 56



                                   LIST OF COUNSEL




                 Name                                       Party
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